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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
            Plaintiff,                            )
                                                  )
      vs.                                         )          Case No. 4:09CR00079 HEA-AGF
                                                  )
FURGAN ABDUL-KABIN,                               )
                                                  )
            Defendant.                            )

                                             ORDER

       This matter is before the Court on the motion of Defendant Furgan Abdul-Kabin to appear

for his arraignment by telephone. [Doc. #25]. Pursuant to Rule 10, Fed. R. Cr. P., a defendant

may appear in person for his arraignment or may appear by videoconference. A defendant may

also waive his right to appear in person if a written waiver, signed by both the defendant and

defense counsel, that meets the requirements of Rule 10(b), is provided. There is no provision in

the Federal Rules of Criminal Procedure, however, for a defendant to appear for his arraignment

by telephone absent such a written waiver.

       Accordingly,

       IT IS HEREBY ORDERED that Defendant’s Motion for Leave to Participate In

Arraignment Hearing By Telephone [Doc. # 25] is hereby DENIED.




                                                  AUDREY G. FLEISSIG
                                                  UNITED STATES MAGISTRATE JUDGE

Dated this 30th day of January, 2009.
